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 11                            UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 12                                 SAN FRANCISCO DIVISION
 13   In re:                                               Bankruptcy Case
                                                           No. 19-30088 (DM)
 14   PG&E CORPORATION
                                                           Chapter 11
 15            -and-                                       (Lead Case)
                                                           (Jointly Administered)
 16   PACIFIC GAS AND ELECTRIC
      COMPANY,
 17                       Debtors.                         [PROPOSED] ORDER ON THE FIRE
                                                           VICTIM TRUSTEE’S APPLICATION
 18   □ Affects PG&E Corporation                           FOR CLARIFICATION AND
                                                           MODIFICATION OF PROTECTIVE
 19   □ Affects Pacific Gas and Electric Company           ORDER
 20   ■ Affects both Debtors

 21   *All papers shall be filed in the Lead Case,
      No. 19-30088 (DM)
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  1             Upon the application filed July 22, 2020 (the “Application”) by Justice John K. Trotter
  2   (Ret.) in his capacity as trustee for the Fire Victim Trust for an order directing the clarification of
  3   certain provisions of the Confidentiality and Protective Order (the “Protective Order”) [Dkt. No.
  4   3405] to allow the Hon. John K. Trotter (Ret.) and his staff, consultants, experts, and counsel (the
  5   “Fire Victim Trustee”) and Cathy Yanni and her staff, consultants, experts, and counsel (the
  6   “Claims Administrator”) to access and use information produced and generated in the Cases
  7   (the “Discovery Material” as defined in the Protective Order) in connection with the
  8   administration of the trust established for the fire victims (the “Fire Victim Trust”) and the
  9   prosecution of the assigned causes of action relating to the Fires which the Debtors may have
 10   against contractors, consultants, and others (the “Assigned Claims”) pursuant to the Court-
 11   approved Plan of Reorganization dated June 19, 2020, (the “Plan”) [Dkt. No. 8053] (and as may
 12   be amended, modified, or supplemented);1 and consideration of the Application and the requested
 13   relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this
 14   Court pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found and determined that
 15   notice of the Application as provided to the parties listed therein is reasonable and sufficient; and
 16   it appearing that no other or further notice need be provided; and this Court having reviewed the
 17   Application; and it appearing that the relief requested in the Application is in the best interest of
 18   the Debtors’ estates, creditors, shareholders, and all parties in interest; and it appearing that good
 19   cause exists for the relief requested in the Application; and upon all of the proceedings had before
 20   this Court and after due deliberation and sufficient cause appearing therefor,
 21             IT IS HEREBY ORDERED THAT:
 22             1.     The Application is approved solely to the extent set forth herein.
 23             2.     The Court directs that the Protective Order be deemed modified in the manner
 24   disclosed in the redline to the Protective Order attached to the Motion and that the Protective
 25   Order attached hereto as Exhibit 1 be in full force and effect and deemed to supersede the
 26   Protective Order entered at Dkt. No. 3405 in all respects.
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          All capitalized terms have the definitions provided in the Plan or the Protective Order.

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  1            3.    Following entry of this Order, the Fire Victim Trust, the TCC, in accordance with
  2   the written direction of the Fire Victim Trustee (which direction may be provided by counsel to
  3   the Fire Victim Trust), and the Debtors are authorized to take all steps necessary or appropriate to
  4   carry out this Order as quickly as practicable at the Debtors’ or Reorganized Debtors’ expense as
  5   applicable, subject to an agreed upon budget cap, which may be expanded with the consent of the
  6   Debtors or Reorganized Debtors, as applicable, including, but not limited to, subject to the written
  7   direction of the Fire Victim Trust, the TCC organizing and turning over, subject to Paragraph 7,
  8   documents, information, and work product to the Trustee and its counsel for the Fire Victim
  9   Trust.
 10            4.    The TCC’s turnover of documents, information, and work product to the Fire
 11   Victim Trustee and its counsel shall be subject to the Protective Order, as clarified and modified,
 12   and the Common Interest Agreement among Baker & Hostetler, the TCC, the Trustee, the Claims
 13   Administrator, as referenced in the Motion.
 14            5.    To the extent that there may be any inconsistency between the terms of the
 15   Application, the Plan, the Protective Order, or this Order, the terms of this Order shall govern.
 16            6.    This Court shall retain jurisdiction to hear and determine all matters arising from
 17   or related to the implementation, interpretation, or enforcement of the Protective Order for the
 18   Cases and for this Order.
 19                                         ** END OF ORDER **
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  1                                    EXHIBIT “1”
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                                 UNITED STATES BANKRUPTCY COURT
17
                                 NORTHERN DISTRICT OF CALIFORNIA
18
                                          SAN FRANCISCO DIVISION
19
     In re:                                                Bankruptcy Case No. 19-30088 (DM)
20
     PG&E CORPORATION,                                     Chapter 11
21
              – and –                                      (Lead Case)
22
     PACIFIC GAS AND ELECTRIC COMPANY,                     (Jointly Administered)
23
                                   Debtors.                CONFIDENTIALITY AND PROTECTIVE
24                                                         ORDER
      Affects PG&E Corporation
25    Affects Pacific Gas and Electric Company
      Affects both Debtors
26
     All papers shall be filed in the Lead Case,
27   No. 19-30088 (DM).
28

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 1           This Confidentiality and Protective Order (“Order”) shall govern the production, review,

 2   disclosure, and handling of any Discovery Material (as defined herein) by any person or entity (each a

 3   “Party” and, collectively, the “Parties”) in connection with the above-captioned chapter 11 cases

 4   pending before the United States Bankruptcy Court for the Northern District of California (the

 5   “Bankruptcy Court”), Ch. 11 Case Nos. 19-30088 (DM) and 19-30089 (DM) (collectively, the

 6   “Chapter 11 Cases”).

 7   1.      PURPOSES AND LIMITATIONS

 8           This Order applies to all discovery in the Chapter 11 Cases and related proceedings, including

 9   informal discovery, discovery provided or used for the administration of the Fire Victim Trust or pursuit

10   of the Assigned Rights and Causes of Action (as each term is defined herein), discovery under

11   Bankruptcy Rule 2004, and discovery in connection with judicial or other proceedings, such as contested

12   matters, adversary proceedings and other disputes (each, a “Case,” and collectively, the “Cases”). The

13   Parties have sought or may seek certain Discovery Material (as defined below) from one another with

14   respect to the Chapter 11 Cases (collectively, “Discovery Requests”) as provided by the Federal Rules

15   of Civil Procedure (the “Federal Rules”), the Bankruptcy Rules, and the Local Rules of Bankruptcy

16   Practice and Procedure of the Bankruptcy Court (the “Local Rules”). The purpose of this Order is to

17   facilitate and expedite the production, exchange and treatment of Discovery Material (as defined below)

18   and to protect Discovery Material that a Party seeks to maintain as confidential. However, the Parties

19   acknowledge that this Order does not entitle them to file confidential information under seal without

20   further order of the Court; United States District Court for the Northern District of California Civil Local

21   Rule 79-5 (incorporated into the Local Rules by Rule 1001-2) sets forth the procedures that must be

22   followed and the standards that will be applied when a Party seeks permission from the Court to file

23   material under seal.

24   2.      DEFINITIONS

25                   2.1        Challenging Party: a Party that challenges the designation of information or items

26   under this Order.

27                   2.2        Counsel (without qualifier): Outside Counsel of Record or House Counsel (as well

28   as their support staff).

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 1                   2.3     Designating Party: a Party that designates information or items that it produces in

 2   response   to    Discovery    Requests     as   “CONFIDENTIAL”,         “HIGHLY        CONFIDENTIAL”,

 3   “PROFESSIONAL EYES ONLY” or “CONTRACTOR CONFIDENTIAL.”

 4                   2.4     Discovery Material: all items or information, regardless of the medium or manner

 5   in which it is generated, stored, or maintained (including, among other things, testimony, transcripts, and

 6   tangible things), that are produced or generated in disclosures or responses to Discovery Requests or

 7   provided to industry advisors, financial advisors, accounting advisors, experts and consultants (and their

 8   respective staff) that are retained by the Debtors’ creditors in connection with the Chapter 11 Cases,

 9   including deposition testimony, interrogatories, answers to interrogatories, requests for admission,

10   responses to requests for admission, documents, information and things produced, including information

11   provided to the Receiving Party orally, as well as any and all copies, abstracts, digests, notes, summaries,

12   and excerpts thereof.

13                   2.5     House Counsel: attorneys who are employees or contractors of a Party. House

14   Counsel does not include Outside Counsel of Record or any other outside counsel.

15                   2.6     Outside Counsel: attorneys who are not employees of a Party but are retained to

16   represent or advise a Party regarding the Chapter 11 Cases. With respect to the Debtors, and any Official

17   Committee, Outside Counsel refers to counsel that has been retained by one of the above Parties and

18   whose retention has been approved by the Court.

19                   With respect to the Ad Hoc Group of Subrogation Claim Holders (the “Ad Hoc Group”),

20   Outside Counsel also shall include attorneys who have signed the “Acknowledgment and Agreement to

21   Be Bound” (Exhibit A), so long as the attorney continues to represent members of the Ad Hoc Group in

22   such capacity (the “Subrogation Outside Counsel”).

23                   2.7     Producing Party: a Party that produces Discovery Material.

24                   2.8     Professional Vendors: persons or entities that provide litigation support services

25   (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing,

26   storing, or retrieving data in any form or medium) and their employees and subcontractors.

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 1                  2.9    Protected    Material:   any   Discovery    Material    that   is    designated   as

 2   “CONFIDENTIAL”,          “HIGHLY       CONFIDENTIAL”,          “PROFESSIONAL              EYES     ONLY”

 3   “CONTRACTOR CONFIDENTIAL.”

 4                  2.10   Receiving Party: a Party that receives Discovery Material directly from the

 5   Producing Party.

 6                  2.11   “Assigned Rights and Causes of Action”, “Fire Victim Trust,” “Fire Victim

 7   Trustee” and “Claims Administrator” shall have the definitions provided in the Debtors’ Court-approved

 8   Plan of Reorganization dated June 19, 2020, [Dkt. No. 8053].

 9   3.     SCOPE

10          This Order applies to all Discovery Material exchanged in or subject to discovery that is

11   produced, formally or informally in response to or in connection with any Discovery Requests in the

12   Cases or to assist in the administration of the Fire Victim Trust or pursuit of the Assigned Rights and

13   Causes of Action (the “Assigned Claims”). Except as otherwise set forth herein, Discovery Material

14   produced informally by the Debtors in connection with the Chapter 11 Cases or pursuant to Rule 2004

15   (unless otherwise agreed by the Debtors) may only be used in the Chapter 11 Cases, including in

16   connection with any contested motions in the Chapter 11 Cases, and may not be used in connection with

17   any adversary proceeding or other litigation. This Order does not affect, amend or modify any existing

18   confidentiality agreements, Committee Bylaws, non-disclosure agreements, intercreditor agreements,

19   protective orders or similar agreements applicable to any Producing Party and/or Receiving Party, and

20   nothing in this Order shall constitute a waiver of any rights under such agreements or orders. Where this

21   Order is in conflict with any existing confidentiality agreements, intercreditor agreements, Committee

22   Bylaws, non-disclosure agreements, protective orders or similar agreements applicable to any Producing

23   Party and/or Receiving Party in connection with the Cases, the provision that provides the most

24   confidentiality protection for Discovery Materials applies.

25          The protections conferred by this Order cover not only Protected Material, but also (1) any

26   information copied or extracted from Protected Material; (2) all copies, excerpts, summaries, or

27   compilations of Protected Material; and (3) any testimony, conversations, or presentations by Parties or

28   their Counsel that might reveal Protected Material. However, the protections conferred by this Order do

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 1   not cover the following information: (a) any information that is in the public domain at the time of

 2   disclosure to a Receiving Party or becomes part of the public domain after its disclosure to a Receiving

 3   Party as a result of publication not involving a violation of this Order, including becoming part of the

 4   public record through trial or otherwise; and (b) any information known to the Receiving Party prior to

 5   the disclosure or obtained by the Receiving Party after the disclosure from a source who obtained the

 6   information lawfully and under no obligation of confidentiality to the Designating Party.

 7          This Order does not apply to (a) the California Public Utilities Commission; (b) the state agencies

 8   as defined in California Government Code section 11000 and including the California State University;

 9   (c) the United States of America; (d) the City and County of San Francisco; (e) the City of San José; (f)

10   Sonoma Clean Power Authority; (g) Valley Clean Energy Alliance; (h) Redwood Coast Energy

11   Authority; (i) Pioneer Community Energy; (j) Peninsula Clean Energy; (k) CleanPowerSF; (l) Marin

12   Clean Energy; (m) Silicon Valley Clean Energy Authority; (n) East Bay Community Energy Authority;

13   (o) the Monterey Bay Community Power Authority; (p) the Northern California Power Agency; and (q)

14   Transmission Agency of Northern California. With respect to the entities in (f)-(o) above (collectively,

15   the “CCA’s”) and with respect to the entities in (p) and (q) above (collectively, the “JPA’s”), the carve-

16   out includes each of the governmental unit constituent members of the CCA’s and the JPA’s, solely in

17   such governmental unit’s capacity as a constituent member of the applicable CCA or JPA.

18          Nothing herein shall prevent or otherwise restrict a Receiving Party from notifying,

19   confidentially and in good faith, law enforcement or regulatory personnel of a governmental unit of a

20   potential violation of law revealed by the Discovery Material; provided that such notification shall not

21   involve the transmission of the Protected Materials themselves.

22   4.     DURATION

23          Even after Debtors’ emergence from Bankruptcy, the confidentiality obligations imposed by this

24   Order shall remain in effect until a Designating Party agrees otherwise in writing or a Court order

25   otherwise directs. The Debtors’ emergence from Bankruptcy shall not relieve the Parties from their

26   responsibility to maintain the confidentiality of Discovery Material pursuant to this Order, and the Court

27   shall retain jurisdiction to enforce the terms of this Order.

28   5.     DESIGNATING PROTECTED MATERIAL

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 1                  5.1     Manner and Timing of Designations. Subject to Paragraphs 5.5 and 5.6 and,

 2   except as otherwise provided in this Order, or as otherwise stipulated or ordered, Discovery Material

 3   that qualifies for protection under this Order must be clearly so designated before the material is

 4   disclosed or produced. Any Producing Party may designate Discovery Material as “CONFIDENTIAL”,

 5   “HIGHLY       CONFIDENTIAL”,          “PROFESSIONAL          EYES      ONLY”      or    “CONTRACTOR

 6   CONFIDENTIAL” in accordance with the following provisions:

 7                  5.2     “CONFIDENTIAL” Material. A Producing Party may designate Discovery

 8   Material as “CONFIDENTIAL” if such Producing Party believes in good faith (or with respect to

 9   documents received from another person, has been reasonably advised by such other person) that: (1)

10   such Discovery Material (a) constitutes or contains nonpublic proprietary or confidential technical,

11   business, financial, personal or other information of a nature that can be protected under the Bankruptcy

12   Rules or the Federal Rules or (b) is subject by law or by contract to a legally protected right of privacy;

13   or (2) the Producing Party (a) is under a preexisting obligation to a third-party to treat such Discovery

14   Material as confidential or (b) has in good faith been requested by another Party to so designate such

15   Discovery Material on the grounds that such other Party considers such Discovery Material to contain

16   information that is confidential or proprietary to such Party.

17                  5.3     “HIGHLY CONFIDENTIAL” or “PROFESSIONAL EYES ONLY” Material. A

18   Producing Party may designate Discovery Material as “HIGHLY CONFIDENTIAL” and/or

19   “PROFESSIONAL EYES ONLY” if such Producing Party believes in good faith (or with respect to

20   documents received from another person, has been reasonably advised by such other person) that such

21   Discovery Material constitutes or includes “HIGHLY CONFIDENTIAL” and/or “PROFESSIONAL

22   EYES ONLY” Material that is of such a nature that a risk of competitive injury or a material risk to the

23   Debtors’ development of a plan of reorganization or emergence from Bankruptcy would be created if

24   such Discovery Material were disclosed to persons other than those identified in Paragraph 7.3 of this

25   Order, such as trade secrets, sensitive financial, personal or business information, including insurance

26   policy information, or material prepared by its industry advisors, financial advisors, accounting advisors,

27   experts or consultants (and their respective staff) that are retained by any Party in connection with these

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 1   Chapter 11 Cases, and only to the extent that the Producing Party believes in good faith that such material

 2   is of such a nature that Highly Confidential or Professional Eyes Only treatment is warranted.

 3                  5.4       “CONTRACTOR CONFIDENTIAL” Material.

 4                  (a)       A Producing Party may designate Discovery Material as “CONTRACTOR

 5   CONFIDENTIAL” if disclosure of such Material to a PG&E contractor would create a substantial risk

 6   of serious harm that could not be avoided by less restrictive means. “PG&E Contractors” means any

 7   person or entity retained to provide any goods and/or services to PG&E. This designation will also

 8   encompass the following: (1) any information copied or extracted from Contractor Confidential material;

 9   (2) all copies, excerpts, summaries, or compilations of Contractor Confidential material; and (3) any

10   testimony, conversations, or presentations by parties or their Counsel that might reveal Contractor

11   Confidential material.

12                  (b)       If a PG&E Contractor is a Producing Party, the PG&E Contractor may redact

13   sensitive and proprietary information at the time of its initial production, identifying the redaction by

14   general description (for example, “bidding calculations,” or “profit information”). If any Party objects

15   to the redaction of such information and contends that a particular need exists for production of the

16   redacted information, the procedures for challenging confidential designations in Paragraph 6 shall apply

17   to the redaction.

18                  5.5       Manner Of Designating Discovery Material. Designation in conformity with this

19   Order requires:

20   (a)    for information in documentary form (e.g., paper or electronic documents, but excluding

21   transcripts of depositions or other pretrial or trial proceedings), that the Producing Party affix the legend

22   “CONFIDENTIAL”,            “HIGHLY       CONFIDENTIAL”,          “PROFESSIONAL            EYES      ONLY”

23   “CONTRACTOR CONFIDENTIAL” to each page that contains protected material.

24   (b)    for testimony given in deposition or in other pretrial or trial proceedings, such testimony may be

25   designated as appropriate by: (a) Stating so orally on the record and requesting that the relevant portion(s)

26   of testimony is so designated; or (b) Providing written notice within seven (7) days of the Party’s receipt

27   of the final transcript from the court reporter that the relevant portion(s) of such transcript or recording

28   of a deposition thereof is so designated, except in the event that a hearing on related issues is scheduled

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 1   to occur within seven (7) days, in which case the foregoing seven (7) day period will be reduced to three

 2   (3) business days. Until expiration of the aforesaid designation period, as applicable, following receipt

 3   of the transcript by the Parties, all deposition transcripts and recordings shall be considered and treated

 4   as Confidential Material unless otherwise designated by counsel to any Party on the record at the

 5   deposition or in other pretrial or trial proceedings.

 6   (c)    for information produced in some form other than documentary and for any other tangible items,

 7   that the Producing Party affix in a prominent place on the exterior of the container or containers in which

 8   the information or item is stored the legend “CONFIDENTIAL”, “HIGHLY CONFIDENTIAL”,

 9   “PROFESSIONAL EYES ONLY” or “CONTRACTOR CONFIDENTIAL.”

10                  5.6      Inadvertent Failures to Designate. The failure to designate particular Discovery

11   Material as “CONFIDENTIAL”, “HIGHLY CONFIDENTIAL”, “PROFESSIONAL EYES ONLY” or

12   “CONTRACTOR CONFIDENTIAL” at the time of production shall not operate to waive a Producing

13   Party’s right to later designate such Discovery Material as Protected Material or later apply another

14   designation pursuant to this Order (“Misdesignated Material”). At such time, arrangement will be made

15   for the destruction of the Misdesignated Material or for the return to the Producing Party of all copies of

16   the Misdesignated Material and for the substitution, where appropriate, of properly labeled copies of

17   such Discovery Material. Upon receipt of replacement copies of such Misdesignated Material with the

18   proper designation, the Receiving Party or Parties shall promptly take all commercially reasonable steps

19   to return or destroy all previously produced copies of such Misdesignated Material. If requested by the

20   Producing Party, a Receiving Party shall verify in writing that it has taken all commercially reasonable

21   steps to return or destroy such Misdesignated Material. No Party shall be deemed to have violated this

22   Order if, prior to notification of any later designation, such Discovery Material was disclosed or used in

23   any manner consistent with its original designation but inconsistent with its later designation. Once such

24   later designation has been made, however, any Discovery Material shall be treated in accordance with

25   that later designation; provided, however, that if the material that was not designated has been, at the

26   time of the later designation, previously publicly filed with a Court, no Party shall be bound by such

27   later designation except to the extent determined by the Court upon motion of the Party that did not make

28   the designation.

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 1   6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

 2                   6.1     Timing of Challenge to Confidentiality Designations. A Receiving Party shall not

 3   be obliged to challenge the propriety of a confidentiality designation at the time made, and a failure to

 4   do so shall not preclude a subsequent challenge thereto. The failure of any Party to challenge the

 5   designation by a Producing Party of Discovery Materials as “Confidential,” “Highly Confidential,” or

 6   “Professional Eyes Only” during the discovery period shall not be a waiver of that Party’s right to object

 7   to the designation at trial.

 8                   6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution

 9   process by providing written notice of each designation it is challenging and describing the basis for

10   each challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must

11   recite that the challenge to confidentiality is being made in accordance with this specific paragraph of

12   the Order. Within five (5) business days of the date of service of the notice challenging the designation,

13   the Parties shall attempt to resolve each challenge in good faith and must begin the process by conferring

14   directly. In conferring, the Challenging Party must explain the basis for its belief that the confidentiality

15   designation was not proper and must give the Designating Party an opportunity to review the Protected

16   Material, to reconsider the circumstances, and, if no change in designation is offered, to explain the basis

17   for the chosen designation. A Challenging Party may proceed to the next stage of the challenge process

18   only if it has engaged in this meet and confer process first or establishes that the Designating Party is

19   unwilling to participate in the meet and confer process in a timely manner.

20                   6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court

21   intervention and if either the Challenging Party or the Designating Party wishes to then seek Court

22   intervention, both the Challenging Party and Designating Party shall submit a joint letter or motion to

23   the Court, reflecting each party’s position, describing adherence to paragraph 6.2’s “meet and confer”

24   requirement, and attaching any relevant information (including documents or declarations), within ten

25   (10) business days after the conclusion of efforts to meet and confer and the indication in writing by

26   either the Challenging Party or the Designating Party of its intent to seek court intervention. If by joint

27   motion, the motion shall be set at the first available date on regular notice. The Court expects the parties

28   to cooperate in the preparation of the joint letter or motion so that each side has adequate time to prepare

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 1   its own arguments and address its adversary’s arguments before submission. The burden of persuasion

 2   in any such challenge proceeding shall be on the Designating Party.

 3          All Parties shall continue to afford the material in question the level of protection to which it is

 4   entitled under the Producing Party’s designation until the Court rules on the challenge.

 5   7.     ACCESS TO AND USE OF DISCOVERY MATERIAL

 6                  7.1    Use of Discovery Material. A Receiving Party may use Discovery Material that

 7   is disclosed or produced by another Party solely for the purposes of these Chapter 11 Cases and not for

 8   any other purpose, including any other litigation or judicial proceedings, or any business, competitive,

 9   governmental, commercial, or administrative purpose or function. In the case of use by Official

10   Committees or Committee Professionals, Protected Material may be used only in a manner consistent

11   with the Committee’s duties and responsibilities. Such Protected Material may be disclosed only to the

12   categories of persons and under the conditions described in this Order. When the Debtors emerge from

13   Bankruptcy, a Receiving Party must comply with the provisions of section 14 below (FINAL

14   DISPOSITION). For the avoidance of doubt, the administration of the Fire Victim Trust and the

15   prosecution of the Assigned Claims is deemed to be for the purposes of these Chapter 11 Cases and

16   Discovery Material may be used in connection with the administration of the Fire Victim Trust and the

17   prosecution of the Assigned Claims.

18          Protected Material must be stored and maintained by a Receiving Party at a location and in a

19   secure manner that ensures that access is limited to the persons authorized under this Order.

20                  7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

21   ordered by the Court or permitted in writing by the Designating Party, a Receiving Party may disclose

22   any information or item designated “CONFIDENTIAL” only to:

23   (a)    the officers, directors, employees, and Counsel of the Receiving Party to whom disclosure is

24   reasonably necessary for purposes of the Chapter 11 Cases or a Case;

25   (b)    where the Receiving Party is an Official Committee, its members, Outside Counsel and its

26   advisors that are retained by the Official Committee or its Outside Counsel and where necessary

27   approved by the Court, to whom disclosure is reasonably necessary for purposes of the Chapter 11 Cases

28   or a Case;

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 1   (c)     the Debtors;

 2   (d)     any Official Committee, including its members, and the Official Committee’s Outside Counsel

 3   to whom the Producing Party has given consent;

 4   (e)     the U.S. Trustee;

 5   (f)     any other persons specified in Paragraph 7.3 below.

 6                   7.3     Disclosure of “HIGHLY CONFIDENTIAL” or “PROFESSIONAL EYES

 7   ONLY” Information or Items. Unless otherwise ordered by the Court or permitted in writing by the

 8   Designating Party, a Receiving Party may disclose any information or item designated “HIGHLY

 9   CONFIDENTIAL” or “PROFESSIONAL EYES ONLY” only to:

10   (a)     Outside Counsel of the Receiving Party to whom disclosure is reasonably necessary for purposes

11   of the Chapter 11 Cases or a Case;

12   (b)     the Fire Victim Trustee and the Claims Administrator under the Fire Victim Trust approved by

13   the Court and their respective staff, advisors, experts, consultants, and counsel, or financial advisors,

14   accounting advisors, experts and consultants (and their respective staff) that are retained by the

15   Receiving Party (and in the case of the Debtors or any Official Committee, approved by the Court) in

16   connection with the Chapter 11 Cases who have signed the “Acknowledgment and Agreement to Be

17   Bound” (Exhibit A);

18   (c)     financial advisors, accounting advisors, experts and consultants (and their respective staff) that

19   are retained by any Party (and in the case of the Debtors or any Official Committee, approved by the

20   Court) in connection with the Chapter 11 Cases, to whom the Producing Party may consent in writing

21   and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A).

22   (d)     Outside Counsel for the U.S. Trustee;

23   (e)     the Bankruptcy Court or any Court to which an appeal of a Case is taken, and their personnel;

24   (f)     court reporters and their staff, professional jury or trial consultants, mock jurors, and Professional

25   Vendors to whom disclosure is reasonably necessary for purposes of the Chapter 11 Cases or a Case and

26   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

27   (g)     for purposes of witness preparation, any deponent or witness who was noticed for a deposition,

28   or is on a witness list for hearing or trial, in preparation for his or her noticed deposition, hearing, or trial

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 1   testimony where such Protected Material is determined by counsel in good faith to be necessary to the

 2   anticipated subject matter of testimony, and that doing so would not cause competitive harm, provided,

 3   however, that such persons (1) sign the “Acknowledgment and Agreement to Be Bound” (Exhibit A),

 4   (2) are only provided such Protected Material in connection with preparation for the anticipated

 5   testimony, and (3) shall not be permitted to retain copies of such Protected Material.

 6   (h)    Deponents and witnesses where counsel has a good faith basis for believing that the witness

 7   would have had knowledge of the contents of the Protected Material in the course of fulfilling his or her

 8   responsibilities or has information that directly bears upon the Protected Material.

 9   (i)    the author or recipient of a document containing the information or a custodian or other person

10   who otherwise possessed or knew the information.

11   (j)    any adverse witness during the course of a deposition where counsel questioning the witness

12   reasonably and in good faith believes that questioning the witness regarding the document is necessary

13   and that doing so would not cause competitive harm and who have signed the “Acknowledgment and

14   Agreement to Be Bound” (Exhibit A).

15   (k)    any other person or entity with respect to whom the Producing Party may consent in writing and

16   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A). A request by a

17   Receiving Party under this Section 7.3(k) must be in writing and reasonably specify the Discovery

18   Materials that it seeks to disclose, the “person or entity” to which it seeks to disclose this Discovery

19   Material, and the reason it seeks to disclose these Discovery Materials. The Producing Party shall use

20   reasonable best efforts to provide a response in three (3) business days, and no later than (5) business

21   days, from receipt of a written request. If the request is denied, either Party may promptly seek Court

22   intervention.

23                     7.4   Disclosure of “CONTRACTOR CONFIDENTIAL” Information or Items.

24   Unless otherwise ordered by the Court or permitted in writing by the Designating Party, a Receiving

25   Party may disclose any information or item designated “CONTRACTOR CONFIDENTIAL” only to

26   those parties listed in sections 7.2 – 7.3, but may not disclose such information to PG&E contractors or

27   their advisors.

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 1                  7.5     Filing or Submitting Protected Material To Court. Without written permission

 2   from the Designating Party or a court order secured after appropriate notice to all interested persons, a

 3   Party may not file in the public record related to a Case or the Chapter 11 Cases any Protected Material.

 4   A Party that seeks to file any Protected Material with the Court must file under seal in accordance with

 5   the Federal Rules, the Bankruptcy Rules, the Local Rules, and the individual practice rules of the Judge.

 6   Protected Material may only be filed under seal pursuant to a court order authorizing the sealing of the

 7   specific Protected Material at issue.

 8                  7.6     Use of Protected Material in Open Court. The limitations on disclosure in this

 9   Order shall not apply to any Discovery Materials offered or otherwise used by any Party at trial or any

10   hearing held in open court except as provided in this paragraph. As part of any pretrial conference or any

11   meet and confer regarding the use of exhibits in any evidentiary hearing, and at least 72 hours prior to

12   the use of any Protected Material at trial or any hearing to be held in open court, counsel for any Party

13   who desires to offer or use such Protected Material at trial or any hearing to be held in open court shall

14   meet and confer in good faith with the Producing Party together with any other Parties who have

15   expressed interest in participating in such meet and confer to discuss ways to redact the Protected

16   Material so that the material may be offered or otherwise used by any party, in accordance with the

17   provisions of the Bankruptcy Code and Bankruptcy Rules. If the Parties are unable to resolve a dispute

18   related to such Protected Material, then the Party who desires to offer or use such Protected Material at

19   trial or any hearing to be held in open court bears the burden of requesting relief from the Court and, in

20   the absence of such relief, such Protected Material shall not be offered or otherwise used at trial or any

21   hearing held in open court.

22   8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

23   PROCEEDINGS

24          If a Party is served with a subpoena or a court order issued in other proceedings that compels

25   disclosure of any information or items designated in a Case or these Chapter 11 Cases as

26   “CONFIDENTIAL”,         “HIGHLY         CONFIDENTIAL”,      “PROFESSIONAL          EYES     ONLY”,     or

27   “CONTRACTOR CONFIDENTIAL” that Party must:

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 1   (a)    promptly notify in writing the Designating Party. Such notification shall include a copy of the

 2   subpoena or court order;

 3   (b)    promptly notify in writing the party who caused the subpoena or order to issue in the other

 4   litigation that some or all of the material covered by the subpoena or order is subject to this Order. Such

 5   notification shall include a copy of this Order; and

 6   (c)    cooperate with respect to all reasonable procedures sought to be pursued by the Designating Party

 7   whose Protected Material may be affected.

 8          If the Designating Party timely seeks a protective order, the Party served with the subpoena or

 9   court order shall not produce any Protected Material before a determination by the Court from which the

10   subpoena or order issued, unless the Party has obtained the Designating Party’s permission. The

11   Designating Party shall bear the burden and expense of seeking protection in that Court of its confidential

12   material – and nothing in these provisions should be construed as authorizing or encouraging a Receiving

13   Party in this action to disobey a lawful directive from another Court.

14          In addition to the notice obligations set forth above, in any other litigation or proceedings

15   instituted by or against the Fire Victim Trust involving the disclosure of information or items designated

16   in a Case or these Chapter 11 Cases as “CONFIDENTIAL”, “HIGHLY CONFIDENTIAL”,

17   “PROFESSIONAL EYES ONLY”, or “CONTRACTOR CONFIDENTIAL” pursuant to this Order, the

18   Fire Victim Trust shall, prior to disclosing Protected Material, seek entry in the relevant proceedings of

19   a protective order and confidentiality agreement that provides similar protections for such items and/or

20   information as set forth in this Order.

21   9.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

22          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected Material

23   to any person or in any circumstance not authorized under this Order, the Receiving Party must

24   immediately (a) notify in writing the Designating Party of the unauthorized disclosures, (b) use its best

25   efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the person or persons to

26   whom unauthorized disclosures were made of all the terms of this Order, and (d) request such person or

27   persons to execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit

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 1   A. Disclosure of Protected Material other than in accordance with the terms of this Order may subject

 2   the disclosing person to such sanctions and remedies as the Court may deem appropriate.

 3   10.    INADVERTENT PRODUCTION OF PRIVILEGED DISCOVERY MATERIAL

 4          This Order is entered pursuant to Rule 502(d) of the Federal Rules of Evidence. If a Producing

 5   Party produces materials that the Producing Party later discovers to be privileged or subject to other

 6   protection, such as work-product protection, the production of that material shall not be deemed to

 7   constitute the waiver of any applicable privileges or protections. In such circumstances, shortly after the

 8   Producing Party becomes aware that privileged material was produced, it must notify the Receiving

 9   Party and request, at the Producing Party’s election, either the return or the destruction of the produced

10   material. Immediately after receiving such notification, the Receiving Party shall, as instructed, return

11   or destroy and confirm destruction of all such produced material, including all copies, notes, and/or

12   summaries thereof in any Receiving Party work product. The Receiving Party shall not use the contents

13   of such material for any purpose, including in connection with any effort seeking to compel production

14   of the produced material. The Receiving Party must take reasonable steps to retrieve the produced

15   material if the Receiving Party disclosed it before being notified. Such return or destruction and

16   confirmation of destruction shall not preclude the Receiving Party from seeking to compel production

17   of the produced material for reasons other than its production or any information about the contents of

18   the material that was gained due to its production. Moreover, this Order shall not prevent any Party from

19   challenging the designation of such material as privileged or protected and moving to compel production

20   of allegedly privileged or protected documents. If the Receiving Party becomes aware during the review

21   of any material that is likely to be privileged or subject to other protection, the Receiving Party shall

22   immediately notify the Producing Party and sequester the material until the Producing Party has had a

23   reasonable opportunity to respond.

24   11.    DEPOSITIONS

25                  11.1    Presence Of Persons During Deposition Testimony. Anyone who attends a

26   deposition is subject to the provisions of this Order with respect to such deposition. When Protected

27   Material is elicited during a deposition, persons not entitled to receive such information under the terms

28   of this Order shall, upon request, be excluded from the portion of the deposition so designated.

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 1                  11.2      Responsibilities And Obligations Of Court Reporters. In the event that testimony

 2   is designated as Confidential, Highly Confidential or Professional Eyes Only Material, the court reporter,

 3   who shall first have agreed to abide by the terms of this paragraph, shall be instructed to include on the

 4   cover page of each such transcript the legend, “This transcript portion contains information subject to a

 5   Protective Order and shall be used only in accordance therewith,” and each page of the transcript shall

 6   include the legend “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL”, “PROFESSIONAL EYES

 7   ONLY” or “CONTRACTOR CONFIDENTIAL” as appropriate. If the deposition is recorded, the

 8   recording shall also be subject to the same level of confidentiality as the transcript and include the legend

 9   “CONFIDENTIAL”,           “HIGHLY      CONFIDENTIAL”,         “PROFESSIONAL          EYES     ONLY,”      or

10   “CONTRACTOR CONFIDENTIAL” as appropriate, if any portion of the transcript itself is so

11   designated.

12   12.    PRODUCTION OF CUSTOMER SMART METER DATA

13                  12.1      Pursuant to California Public Utilities Commission Decision No. 11-07-056 and

14   related decisions, utility customer smart meter usage data may only be disclosed after providing affected

15   customers with seven days notice and an opportunity to object to such disclosure as required by the

16   Decision. Pursuant to Debtor Pacific Gas and Electric Company’s tariff Electric and Gas Rules 9.M and

17   27, confidential customer information is subject to similar prior notice requirements as applicable to such

18   customer information. To the extent Debtors produce customer smart meter usage data subject to these

19   rules and tariffs, Debtors shall provide affected customers with appropriate notice prior to production

20   and appropriate notification to the affected customers as required by the rules and tariffs. Producing

21   Party and Receiving Party shall comply with all federal and state privacy laws as applicable to customer

22   data under this Order.

23   13.    MISCELLANEOUS

24                  13.1      Right to Further Relief. Nothing in this Order abridges the right of any person to

25   seek its modification by the Court in the future, including as this Order applies to any particular contested

26   matter or adversary proceeding.

27                  13.2      Right to Assert Other Objections. Nothing in this Order waives any right by a

28   Party that it otherwise would have to object to disclosing or producing any information or item on any

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 1   ground not addressed in this Order. Similarly, no Party waives any right to object on any ground to use

 2   in evidence of any of the material covered by this Order.

 3                  13.3    Continuing Applicability Of Order. The provisions of this Order shall survive the

 4   Debtors’ emergence from Bankruptcy for any retained Discovery Material. The Debtors’ emergence

 5   from Bankruptcy shall not relieve the Parties from their responsibility to maintain the confidentiality of

 6   Discovery Material pursuant to this Order, and the Court shall retain jurisdiction to enforce the terms of

 7   this Order.

 8                  13.4    Amendment Of Order. This Order is subject to modification by this Court upon

 9   good cause shown by any Party. Nothing herein shall preclude a Party from applying at any time

10   (including, without limitation, after the conclusion of these Chapter 11 proceedings) to the Court for

11   relief from (including, without limitation termination of) any or all of the provisions of this Order. The

12   Debtors and the Party seeking to modify or terminate the Order shall meet and confer in good faith to

13   reach an agreement on any issues in dispute concerning the meaning, application, or interpretation of

14   this Order prior to any application to the Court for resolution of such dispute. A Producing Party and a

15   Receiving Party may agree to modify this Order as it applies to a particular production or a particular

16   proceeding in the Cases with (7) business days prior notice to the Debtors.

17                  13.5    Use Of Discovery Material By Producing Party. Nothing in this Order affects the

18   right of any Producing Party to use or disclose its own Discovery Material in any way. Such disclosure

19   will not waive the protections of this Order and will not otherwise entitle other Parties or their attorneys

20   to use or disclose such Discovery Material in violation of this Order.

21                  13.6    Obligations Of Parties. Nothing herein shall relieve a Party of its obligations under

22   the Federal Rules, Bankruptcy Rules, Local Rules, or under any future stipulations and orders, regarding

23   the production of documents or the making of timely responses to Discovery Requests in connection

24   with any Dispute or the Chapter 11 Cases.

25                  13.7    Advice Of Counsel. Nothing herein shall prevent or otherwise restrict counsel

26   from rendering advice to their clients in connection with these Chapter 11 proceedings and, in the course

27   thereof, relying on examination of Protected Material; provided, however, that in rendering such advice

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 1   and otherwise communicating with such client, counsel shall not make specific disclosure of any

 2   information in any manner that is inconsistent with the restrictions or procedures set forth herein.

 3                  13.8    Enforcement. The provisions of this Order constitute an Order of this Court and

 4   violations of the provisions of this Order are subject to enforcement and the imposition of legal sanctions

 5   in the same manner as any other Order of the Court.

 6   14.    FINAL DISPOSITION

 7          Within 90 days after the conclusion of the Debtors’ emergence from Bankruptcy, unless

 8   otherwise ordered by the Court or described herein, each Receiving Party must return all Protected

 9   Material, other than Protected Material intended for the Fire Victim Trust, to the Producing Party or

10   destroy such material. With respect to Discovery Material provided to the Fire Victim Trust, the Fire

11   Victim Trustee and Claims Administrator shall destroy or return Protected Material within 90 days of

12   the later of (a) the Claims Administrator notifying the Court that the Fire Victim Trust administration

13   process has concluded and (b) the Fire Victim Trustee notifying the Court that the investigation,

14   prosecution, and litigation of the Assigned Claims has concluded. As used in this subdivision, “all

15   Protected Material” includes all copies, abstracts, compilations, summaries, and any other format

16   reproducing or capturing any of the Protected Material. Whether the Protected Material is returned or

17   destroyed, the Receiving Party must submit a written certification to the Producing Party (and, if not the

18   same person or entity, to the Designating Party) by the 90 day deadline that (1) identifies (by category,

19   where appropriate) all the Protected Material that was returned or destroyed and (2) affirms that the

20   Receiving Party has not retained any copies, abstracts, compilations, summaries or any other format

21   reproducing or capturing any of the Protected Material. Notwithstanding this provision, Outside Counsel

22   are entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing

23   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney

24   work product, and consultant and expert work product, even if such materials contain Protected Material.

25   A Receiving Party’s obligations under this paragraph shall not require the destruction or return of

26   Confidential, Highly Confidential or Professional Eyes Only Material by Outside Counsel that is stored

27   on backup storage or in archiving solutions made in accordance with regular data backup procedures for

28   disaster recovery or litigation hold, provided that Outside Counsel maintains the confidentiality thereof

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 1   in accordance with this Order. If a Receiving Party chooses to take all commercially reasonable steps to

 2   destroy, rather than return, documents in accordance with this paragraph, that Receiving Party shall, if

 3   requested by the Producing Party, verify such destruction in writing to counsel for the Producing Party.

 4   Notwithstanding anything in this paragraph, to the extent that the information in the Discovery Material

 5   remains confidential, the terms of this Order shall remain binding.

 6                                           **END OF ORDER**

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 1                                                  EXHIBIT A

 2                       ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

 3           I,                                         [print or type full name], of                      [print

 4   or type full address], declare under penalty of perjury that I have read in its entirety and understand the

 5   Confidentiality and Protective Order that was issued by the United States Bankruptcy Court for the

 6   Northern District of California on [date] in In re PG&E Corp., et al., CASE NO. 3:19-bk-30088 (the

 7   “Order”). I agree to comply with and to be bound by all the terms of the Order and I understand and

 8   acknowledge that failure to so comply could expose me to sanctions and punishment in the nature of

 9   contempt. I solemnly promise that I will not disclose in any manner any information or item that is

10   subject to the Order to any person or entity except in strict compliance with the provisions of the Order.

11           I further agree to submit to the jurisdiction of the United States Bankruptcy Court for the Northern

12   District of California for the purpose of enforcing the terms of this Confidentiality and Protective Order,

13   even if such enforcement proceedings occur after termination of this action.

14           I hereby appoint                                                       [print or type full name] of

15                                                       [print or type full address and telephone number] as

16   my California agent for service of process in connection with this action or any proceedings related to

17   enforcement of the Order.

18

19   Date:

20   City and State where sworn and signed:

21

22   Printed name:

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24   Signature:

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